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                      IN THE UNITED STATES DISTRICT CO URT
                     FOR TH E SOUTH ERN DISTRICT O F FLO RIDA

                        CASE NO.16-CV-8B217-M IDDLEBRO OK S

 A LEX AN D ER JO HN SON ,

        Plaintiff,



 VSBV,lNC.,d/b/a
 SU PER 8 M OTEL,

        Defendant.


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        THIS CAUSE comes before the Court on the Joint Stipulation of Dismissal W ith

 Prejudice. (DE 24). The Courtcommends the Parties for theirsmicable resolution ofthis
 m atter. The Courtnotes,however,thatpursuantto Anago Franchising,Inc.v.ShaztLLC,677

 F.3d 1272(11th Cir.2012),theParties'Stipulation isself-executingandno orderoftheCourtis
 required to dism issthisaction. Accordingly,itis

        ORDERED and ADJUDGED thattheClerk ofCourtshallCLO SE thisCA SE.A11

 pending motionsarehereby DENIED AS M OOT.

        DONE AND ORDERED inChambers,atWestP                    ach,Florida,thisW dayof
 A pril,2016.



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                                           U N ITED STA TES D ISTRICT JU D G E

 cc:    A 1lCounselofRecord
